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 1   BENJAMIN B. WAGNER
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 4   Telephone: (559) 497-4000
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 7
 8                     IN THE UNITED STATES DISTRICT COURT
 9                   FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,             )   CASE NO.    1:09-CR-299 LJO
                                           )
12                      Plaintiff,         )   STIPULATION TO CONTINUE
                                           )   SENTENCING DATE AND
13   v.                                    )   ORDER
                                           )
14                                         )
                                           )
15   CESAR LOPEZ                           )
                                           )
16                      Defendant.         )
17
18        The parties request that the sentencing hearing in this case be
19   continued from January 14, 2011 to March 11, 2011 at 9:00a.m..          The
20   parties request the continuance be granted because there are matters
21   related to sentencing that remain unresolved.        The Speedy Trial Act
22   is not implicated since the defendant has already pled guilty and is
23   awaiting sentencing.
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25                                          Respectfully Submitted,
26                                          BENJAMIN B. WAGNER
                                            United States Attorney
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 1
 2   DATE: January 13, 2011               By:    /s/Elana S. Landau
                                                ELANA S. LANDAU
 3                                              Assistant U.S. Attorney
 4
 5   DATE: January 13, 2011                      /s/Mario Disalvo
                                                MARIO DISALVO
 6                                              Attorney for Defendant Cesar Lopez
 7
     BASED ON THIS STIPULATION, COUPLED WITH COLLATERALLY FILED DOCUMENTS,
 8
     THE COURT FINDS GOOD CAUSE AND GRANTS THIS CONTINUANCE.
 9
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11
     IT IS SO ORDERED.
12
     Dated:    January 13, 2011               /s/ Lawrence J. O'Neill
13   b9ed48                               UNITED STATES DISTRICT JUDGE
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